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                                No. 14-56895
                   __________________________________

             IN THE UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT
                  __________________________________

                 CHRISTINE MYERS, as Guardian Ad Litem
                      for L. M., a minor, individually,
                              Plaintiff-Appellant,
                                       v.
                      UNITED STATES OF AMERICA,

                             Defendant-Appellee.
                  __________________________________
           On appeal from the United States District Court for the
  Southern District of California, San Diego, No. 3:02-cv-01349-BEN-MDD
                 Honorable Roger T. Benitez, District Judge
                  __________________________________
             PLAINTIFF-APPELLANT’S OPENING BRIEF
                __________________________________

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            INTRODUCTION AND SUMMARY OF ARGUMENT
             Appellant recognizes that challenges based on bias and lack of

impartiality are rare and are only granted in exceptional cases. This is one of those

cases as this Court will see from the record of what transpired after it reversed the

trial court’s first decision. This appeal was made necessary because of the extreme

and pervasive judicial bias exhibited by the Hon. District Judge Roger T. Benitez,

the trial judge, subsequent to the reversal of his decision in Phase I of this case. In

hearings and his second decision after the reversal of his first decision,

Judge Benitez demonstrated extreme bias toward Plaintiff, Lacie Myers (“Lacie”),

her counsel, and made degrading remarks about this Court and its decision. His

post-reversal, openly prejudicial comments reflected a state of mind that

effectively deprived Lacie—a young girl injured from thallium exposure when she

was 3 years old—of an impartial determination of her claim. Because of

Judge Benitez’s strongly expressed hostility to this Court and denigration of and

refusal to follow the Court’s opinion, Judge Benitez should have recused himself.

His refusal to do so is that extremely rare case constituting reversible error.

Reversal is not only necessary because of his lack of impartiality and denial of a

fair hearing for Lacie, but to preserve the appearance of justice and to maintain

public confidence in the federal judiciary.




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             Because this case has now been tried twice and been pending almost

13 years, a third trial, based on repeated errors by the same judge would be unduly

expensive and wasteful. In its prior decision in this case, this Court was able to

make its own findings due to the clearly erroneous findings made by the District

Court. It can do so again based on the clear error committed by the District Court

without the need for a retrial on causation.

             The district court failed to shift the burden of proof on the issue of

causation to the government due to the government failing to properly monitor the

dust coming off the landfill, failed to shift the burden of proof due to the

government failing to preserve medical records of Lacie pertaining to her visit with

Dr. Lennard when she went into see him for gastrointestinal symptoms in

December 1999, when her hair was starting to fall out, failed to follow this Court’s

mandate as to there being elevated levels of thallium in the dirt and ash being

dumped next to Lacie’s house, and failed to follow the mandate as to Lacie having

elevated levels of thallium in her urine.

             In addition, the district court improperly gave little or no weight to the

opinions of Lacie’s treating doctors and retained neuropsychologist due to a

misapplication of Goodman v. Staples The Office Superstore, LLC, 644 F.3d 817

(9th Cir. 2011). Each of these doctors’ opinions, arrived at when treating Lacie,




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was that she was suffering from thallium toxicity, with its classic symptoms of hair

loss, peripheral neuropathy, and compromised cognitive function.

             With these errors corrected, it is established, there was thallium in the

dirt, thallium in Lacie, with the classic symptoms of thallium toxicity. As a result,

this Court can and should direct a judgment on the issue of causation. As to

damages, the evidence was adduced at Phase II, and is in the record. It will not be

necessary then to have a trial on damages with live witnesses, as the damage issues

can be decided by a new judge based on the record. Accordingly, this Court must

reverse and remand for a brief trial on damages before a different judge.

             In deciding this matter, this Court should be guided by the Code of

Conduct for United States Judges, which provides in part:

             An appearance of impropriety occurs when reasonable
             minds, with knowledge of all the relevant circumstances
             disclosed by a reasonable inquiry, would conclude that
             the judge’s honesty, integrity, impartiality, temperament,
             or fitness to serve as a judge is impaired. Public
             confidence in the judiciary is eroded by irresponsible or
             improper conduct by judges.

Code of Conduct for United States Judges Canon 2A (2014).


             Judge Benitez’s bias and his inability to put out of mind his first

decision are pervasive: (1) His denigrating and derisive statements towards this

Court and Lacie’s counsel in his decision and during post-reversal hearings, stating




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at one hearing to counsel that he could not “trust a word you say, not a word” 1;

(2) his refusal to comply with this Court’s mandate in the Phase 2 trial; (3) his

across-the-board flat-out rejection of Lacie’s experts and treating physicians based

on his unfounded view that Plaintiff’s counsel “poisoned the well”; and (4) his

failure to shift the burden of proof to the Government when it was the

Government’s negligence in failing to have proper air monitoring that made it

impossible for plaintiff to prove the necessary causation with certainty. These

factors collectively and individually establish that any reasonable person would

conclude that Judge Benitez was biased and would not be impartial. They also

establish reversible error which must result in a determination that the

Government’s negligence, as previously determined by this Court, was the

proximate cause of Lacie’s injuries. The only issue to be determined on remand

(to a different judge) is the amount of damages, which can easily be determined on

the basis of the record before the Court and, if the trial judge orders it, further

briefing.

                        STATEMENT OF JURISDICTION
             This Court has jurisdiction over this appeal pursuant to 28 U.S.C.

§ 1291. The United States District Court for the Southern District of California (the

“District Court”) had subject matter jurisdiction over this action pursuant to

1
    1 ER0025:8-9.


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28 U.S.C. § 1332. After filing an administrative claim with the Navy, Plaintiff

filed suit on July 10, 2002. 3 ER0335-351. Between February 28 and March 10,

2006, the parties tried the first phase (Phase 1) of a bifurcated bench trial before

Judge Benitez. On May 15, 2009, Judge Benitez rendered a 12-page decision

rejecting the Plaintiff’s claim. 2 ER0271-283.

             Plaintiff filed a notice of appeal of Judge Benitez’s Phase 1 decision

on July 14, 2009. 2 ER0268-269. After briefing and argument, this Court issued

its opinion reversing Judge Benitez’s Phase 1 decision on July 15, 2011. This

Court’s mandate was issued on October 12, 2011 and the district court issued a

“Notice of Spreading the Mandate” on October 13, 2011. 2 ER0265; 4 ER0653 .

             The parties tried the second phase (“Phase 2”) of the bifurcated case

before Judge Benitez, from February 19 through March 8, 2013. On November 20,

2014, Judge Benitez rendered his Phase 2 decision—120 pages in length—

rejecting the Plaintiff’s claims once again and entering final judgment for

Defendant. 2 ER0036-155. Plaintiff filed a timely notice of appeal to this Court

on December 3, 2014. 1 ER0001-2.

           STATEMENT OF ISSUES PRESENTED FOR REVIEW
             1.     Did the Honorable District Court Judge Roger T. Benitez

erroneously fail to recuse himself on remand of this case because of his lack of

impartiality and bias: 1) reflected by his inability to put out of his mind his



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findings in his previous decision after this court reversed that decision in Myers v.

United States, 652 F.3d 1021 (9th Cir. 2011) (hereinafter “Myers One”); 2) his

open hostility towards this Court which he took out on Lacie and her counsel;

3) failure to follow the mandate in Myers One; 4) disregard of the opinions of

plaintiff’s experts and treating physicians; and 5) refusal to shift the burden of

proof on causation thereby failing to maintain the appearance of justice?

             2.     Did the Honorable District Court Judge Roger T. Benitez fail to

follow the rule of mandate of this Court in Myers One when he regularly made

findings contrary to the findings of this Court?

             3.     Did the Honorable District Court Judge Robert T. Benitez

erroneously apply Goodman v. Staples The Office Superstore, LLC, 644 F.3d 817

(9th Cir. 2001) and disregard the opinions of plaintiff’s experts and treating

physicians on the basis that counsel improperly “poisoned the well”?

             4.     Did the Honorable District Court Judge Robert T. Benitez

commit reversible error by failing to apply Haft v. Lone Palm Hotel, 3 Cal. 3d 756

(1970), which shifts the burden of proof on causation to defendant when its

negligence made it impossible for plaintiff to prove causation with any reasonable

degree of certainty?




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                  STATEMENT OF THE CASE AND FACTS

A.    Summary Of This Court’s Decision In Myers One
             Since this is the second appeal of this case, much of the factual

background is in the Court’s prior opinion in Myers One. The first appeal arrived

in this Court in 2009 after Judge Benitez’s three year delay in issuing his decision

following trial of Phase 1. Phase 1 was supposedly limited to the issue of whether

the Defendant was negligent.

             In brief, this Federal Tort Claims Act (FTCA) case now dates back

nearly 16 years to events that occurred between June and December of 1999.

Lacie, then 3-years-old, lived with her family in the Wire Mountain Family

Housing area on the Camp Pendleton Marine Corps Base. Her complaint alleges

that she suffered severe personal injuries from exposure to the toxic heavy metal

thallium, and that the exposure was caused by the Navy’s negligent failure to

ensure that proper safety measures were followed during the dumping of

contaminated soils, including soils containing elevated levels of thallium, in a

landfill adjacent to Lacie’s home.

             This Court reversed Judge Benitez’s Phase 1 decision finding that

there “were numerous errors” in his disposition of the case, due to his conflating

foreseeability (negligence) with causation. Id. at 1037. The district court had

“relied, in part, on the determination of a ‘causation’ issue—whether Myers was



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exposed to thallium from the OU-3 project, a question on which Myers had not

been fully heard—in what was supposed to be the ‘breach of duty’ phase of the

trial.” Id. at 1027 (emphasis in original).

             During that appeal, Lacie had asked this Court, pursuant to

28 U.S.C. § 2106, to remand the case to a different judge because of the errors it

found. The Court declined because “[h]ere, there is no real reason to question the

impartiality of the trial judge, notwithstanding what . . . were numerous errors.”

Id. at 1037. While the Court was “troubled by the undue—and unexplained—

three-year delay between the conclusion of the first phase of the bench trial and the

issuance of an opinion,” the court was not convinced “that the trial judge would

have substantial difficulty in putting out of his mind his previous findings.” Id.

Accordingly, the Court held that its concerns at that time were not of sufficient

“gravity” to warrant reassignment. Id. The Court “trust[ed] that [the] proceedings

on remand will proceed expeditiously.” Id. The Court’s trust was misplaced as

Judge Benitez was unable to put “out of his mind his previous findings.”

B.    Judge Benitez’s Biased Remarks Post-Reversal
             Post-remand, Judge Benitez made little attempt to hide his anger at

this Court, its opinion reversing his decision, and at Lacie’s counsel for their role

in successfully advocating for reversal. This resentment was reflected in his

refusal to follow the Mandate of this court, choosing, instead to ignore this Court’s



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reversal and reinstate many of his previous overruled findings. Ultimately, his

findings demonstrated a one sided, cherry-picking methodology, which misstated

and omitted critical facts, to serve his biased narrative. Judge Benitez’s anger and

frustration at this Court was taken out on Plaintiff’s counsel. In the process,

Judge Benitez denied Plaintiff a fair hearing, extinguished any appearance of

justice, and displayed a clear inability to render a fair judgment. In recognition

that recusal is a serious matter and that Lacie’s attorneys have an obligation to their

client to raise it if they believe recusal is justified, the facts supporting the

appearance of bias and prejudice are carefully set out below. 2

       1.     Anger At Ninth Circuit Surfaces At Spread The Mandate Hearing
              a.     Misstatements As To Case Languishing In Ninth Circuit
              After petitions for rehearing and rehearing en banc were denied by

this Court, Judge Benitez’s first hearing was on December 5, 2011 to “spread the

mandate.” At the very outset of that hearing, Judge Benitez criticized this Court

for allowing the case to “languish” on its docket:

              THE COURT: All right. Well, let’s see, today is the
              date for spreading the mandate. I guess this case
              languished at the court of appeals for two years, a notice
              of appeal having been filed in July of 2009. And they
              issued an opinion two years later on July 15th, 2011.

2
  “Counsel for a party who believes a judge’s impartiality is reasonably subject to
question has not only a professional duty to [the] client to raise the matter, but an
independent responsibility as an officer of the court.” In re Bernard, 31 F.3d 842,
847 (9th Cir. 1994).

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             I had to throw that in as an aside, since my good friend
             and colleague Judge Bennett felt that it was absolutely
             necessary to point out that the case languished here for
             three years.

1 ER0029:13-21.

             Judge Benitez was wrong in accusing this Court of letting the case

languish, serving to show that his comments reflect bias rather than an impartial

opinion of the facts. The appeal was docketed on July 15, 2009, and, after several

extensions, briefing was completed by February 3, 2010, oral arguments took place

and the case was submitted on June 10, 2010. The submission was vacated five

days later on June 15, 2010, to permit the parties to consider mediation. Mediation

did not take place. The case was resubmitted and this Court’s opinion issued on

the same day, July 15, 2011 (approximately one year after argument and the

subsequently vacated original submission). After petitions by the government for

rehearing and rehearing en banc were denied (2 ER0266-267), the Mandate was

issued on October 12, 2011 (2 ER0265).

             b.    Misstatements As To Workload
             Judge Benitez then suggested his “unexplained” three year delay

noted by this Court was caused by his “thinking” about the case every day during

those three years, and his judicial workload. After his pointed, but erroneous

statement, that the case “languished” in this Court for two years, he explained

“there wasn’t a day or a week during that three year period [after the case was


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submitted and before his decision] that I didn’t think about this case.”

1 ER0030:2-3. Reaching outside the record to compare his docket with District

Judge Bennett, the author of Myers One, Judge Benitez then explained that this

Court did not appreciate his heavy workload and the number of cases on his

docket:

              And that lastly, I would point out to my good friend and
              colleague, Judge Bennett, that I have more criminal cases
              on my docket than his entire district. I have more civil
              cases on my docket than in his entire district.

1 ER0030:14-17.

              Again, Judge Benitez was wrong, further showing his bias. Here are

the facts about workloads and the dockets of all pending cases (civil and criminal)

in Judge Bennett’s “entire district” (the Northern District of Iowa) and the per

judge average in Judge Benitez’s district (the Southern District of California).

                       Dec. 31,    Dec. 31,      Dec. 31,     Dec. 31,     Dec. 31,
                        2010        2011          2012         2013         2014
N.D. Iowa
                         820          774          723           674          629
pending cases
S.D. Cal.
                         435          493          474           460          466
(per judge)


All of these statistics are from Table N/A—U.S. District Courts—Combined Civil

and Criminal Federal Court Management Statistics (December 31, 2014) published

by the Administrative Office of the United States Courts of the Judicial Conference


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of the United States and available at http://www.uscourts.gov/statistics/table/na/

federal-court-management-statistics/2014/12/31-2, as of May 18, 2015 (Motion for

Judicial Notice, Exh. A, pp. 5-7). The Administrative Office does not publish

statistics about individual judges. The statistics for actions per judge in the

Southern District of California, like all of the district court statistics, are averaged

for the number of judges in the district.

             Regarding judicial productivity based on number of trials completed

per judge each year in the Northern District of Iowa and Judge Benitez’s District,

the Northern District of Iowa is ranked #1 in the country, while the Southern

District of California is ranked #58. (Motion for Judicial Notice at Exh. A, p. 7.)

             As to allowing cases to languish, the Northern District of Iowa has far

less (by over 50%) cases pending over three years than the Southern District of

California. (Motion for Judicial Notice, Exh. A, p.6)

             c.     Judge Benitez’s Hostility To This Court’s Opinion And
                    Reversal
             Judge Benitez was particularly disturbed by this Court’s holding that

he committed “clear error” by rejecting the Plaintiff’s claim of “breach of duty” for

a perceived “lack of proof of causation as determinative of the foreseeability of

[Plaintiff’s] injuries.” Myers One at 1035. Judge Benitez bluntly charged that this

Court, particularly Judge Bennett, failed to read the record or comprehend his




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decision. He also warned counsel that, after the remand, he will “get the last

word.”

              The Court: Well, the reason why I mentioned it is
              because, you know, it’s one thing to get reserved or
              reversed when I’m not taking issue with the question of
              the discretionary duty issue in this case. Because that
              might have been close. But it’s really tough when, you
              know, you get reversed, and somebody says something
              like see, Judge Bennett gets the last word because he got
              to publish the opinion. But I get the last word because at
              least I get to get this off my chest. Somewhere in there,
              he says something to the effect that I think it’s both in a
              footnote and at page 96.5, when it talks about the fact
              that I should not have addressed the issue of causation.

              Now we went back, and we looked through the record,
              and there is not once, not once in the record that I ever
              addressed the issue of her having thallium in her system
              as a matter of causation. It was for the purpose of
              determining foreseeability, which I might add, is, in fact,
              something that is addressed in a case that he cites, which
              I believe is the Bigby vs. no, I’m sorry, Scott vs. Chevron
              case, which talks about the fact that that would be
              relevant to foreseeability, which is something that you
              have to consider in connection with the duty.

              So again, I don’t mind being reversed; that goes with the
              territory, particularly out here in the Ninth Circuit. But,
              at least if I’m going to get reversed, I’m going to get
              reversed by someone who has actually read the record
              and understood what it was I was saying when I was
              ruling on it.

1 ER0031:21-1 ER0032:22 (emphasis added).

              Judge Benitez went on to express, gratuitously, his “biased view”

about the merits and his rejection of the opinion of this Court. He stated:


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             I suppose I suppose I suppose that I would have a biased
             view of that. But I would just simply say that I would
             wholeheartedly concur with Judge Rawlinson’s position
             in that case and completely and totally disagree with
             Judge Bennett and my good friend Judge Kozinski, but
             whatever.

1 ER0033:21-25.


      2.     Judge Benitez Summarily Rejects Lacie’s Request To Recuse Him
             At the conclusion of the first hearing after remand and

Judge Benitez’s several statements denigrating this Court and its opinion, Lacie’s

counsel suggested that the Judge’s strong feelings could negatively affect Lacie

during further proceedings:

             Mr. Cox: I would be remiss if I didn’t mention this.
             The Court: What is that?
             Mr. Cox: I understand the court’s feeling about
             Judge Bennett and the finding that he made.
             The Court: Right.
             Mr. Cox: And I don’t want Lacie Myers to get caught in
             that cross fire.
             The Court: It’s not. I think you asked for me to be
             removed and some other judge to be – that is not going to
             happen. . .

1 ER0034:8-17.

             Any contrary argument about lack of impartiality and bias toward

Lacie and her counsel rings hollow in light of his statements and tone during this

first hearing after reversal. While Judge Benitez’s representations about his

judicial workload, his heavy docket, and his evaluation of the quality of


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Judge Bennett’s judicial workmanship are all erroneous and, also, irrelevant to the

merits of this case, they are relevant to show his belittling of this Court’s opinion

and, most importantly, are symptomatic of bias toward Lacie and her counsel and

contempt for this Court; they exemplify the “tone of derision that pervades his

opinion.” Stuart v. Local 727, Int’l. Bhd. of Teamsters, 771 F.3d 1014, 1020 (7th

Cir. 2014).

      3.      Impartiality And Bias Manifested At The September 24, 2014
              Status Conference
              On remand, the case was tried over 11 days commencing on

February 19, 2013, and submitted on March 8, 2013. No decision was issued for

over 18 months after submission. Lacie’s request for a status conference to

determine the reason for the delay resulted in a Status Conference on

September 25, 2014. 2 ER0156-160. As in the first hearing spreading the

mandate, Judge Benitez blamed his workload in his district. Again, he explained

“about how long it was taking me to decide this case” (1 ER0005:14-15) as

follows: “But gentlemen, in the Southern District [of California], we have the

fourth highest caseload in the country.” 1 ER0006:25-1 ER0007:2. But the facts

are otherwise. The case load based on pending cases per judgeship in 2014 placed

the Southern District by numerical standing as 46th in the country and 4th in the

circuit. Motion for Judicial Notice, Exh. A, p. 7.




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             a.    Unfounded Denigrating Remarks About the Integrity Of
                   Counsel And The Myers Family
             Judge Benitez frequently finds Sgt. Myers, his wife, and Lacie

“unreliable” (2 ER0055:17), “not a reliable historian” (2 ER0081:17–18) and “not

credible” (2 ER00091:19). He said that counsel had engaged in a “cute little trick”

by Sgt. Myers being uniformed in the courtroom (1 ER0018:13-17) while the

defendant almost always had uniformed officers in the courtroom. But it borders

on meanness for Judge Benitez to insert (erroneously) a non-existent teddy bear

and pair of pajamas into a simple photograph of Lacie (3 ER0413). Judge Benitez

stated that the “real reason” for the photograph was to play on the Judge’s

emotions to improperly and erroneously introduce irrelevant urine testing

evidence. 1 ER0017:21-1 ER0018:13. The Judge stated: “You wanted to get

evidence about the urine content in evidence. You wanted to get it in right way,

and there’s a real reason why you wanted to do that. And the reason was the first

thing you did was you put up a picture of Lacie in her pajamas, and I think she was

holding a little teddy bear if I’m not mistaken.” 1 ER0017:19-25. That

photograph shows Lacie in a shirt, not pajamas and no teddy bear. 3 ER0413.

             In justifying his decision, Judge Benitez speculated about what testing

“might” have done (2 ER0059:4-2 ER0060:1), or that, if any questions had been

raised about faulty monitoring of the site, they “would have been answered” to the

Health and Safety Industrial Hygienists’ “satisfaction” (2 ER0061:3–4) or that the


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NEHL Industrial Hygienist, who “did not actually look at the perimeter air

monitoring equipment readings,” was credible because it was “obvious” that the

Plan was “not just a paper program” (2 ER0062:17–22), and any other “questions”

about a flawed inspection by Navy Commander Dan Field “likely would have been

satisfactorily addressed” (2 ER0065:23–24). Judge Benitez stated it openly: he

“feels” that Lacie was more capable than was reflected in the several medical

diagnoses (2 ER0131:5-6).

            He was openly derisive to counsel and suggested that counsel lacked

integrity. He warned Lacie’s counsel not to “B.S. me” (1 ER0006:15), he was

concerned that counsel was “making up stuff” (1 ER0008:21-22), that he had “the

hardest time getting you [Lacie’s counsel] to answer questions for me”

(1 ER0009:7-8), so that he would “hammer you [Lacie’s counsel]” (1 ER0010:2),

that he had a “bone to pick” with counsel (1 ER0011:25-1 ER0012:1) and asserting

that counsel was “not true” (1 ER0013:18).

            These remarks, taken together, show a virulence not often found in

public courtrooms.

            b.       The False Accusations That Plaintiff’s Counsel Mislead
                     This Court
            The barrage of derision directed towards Lacie’s counsel reached a

high point when Judge Benitez accused counsel of having made misrepresentations

about the Judge to the Court of Appeals. 1 ER0017:19, 1 ER0018:20-


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1 ER0019:24; 1 ER0022:22-1 ER0023:21. Judge Benitez, before the Status

Conference, had arranged to obtain and listen to the audio recording of the oral

argument before this Court (Motion for Judicial Notice, p. 5 C.); he played selected

portions of counsel’s appellate argument during the Status Conference; and berated

(erroneously) counsel for allegedly making misrepresentations about the Judge.

Judge Benitez accused plaintiff’s counsel of misrepresenting that Judge Benitez

had caused “causation” to come into Phase 1 when it was counsel that had brought

in the issue.

                THE COURT: But don’t blame it on me. Don’t go to the
                court of appeals and say it was the judge’s fault because I
                had nothing to do with it. That’s exactly what you wanted
                to do at the very beginning.

1 ER0020:20-23.


                The supposed misrepresentation was in response to a question by the

Court about how causation crept into phase one of the case. The case was

bifurcated, with the issue of governmental negligence to be tried first. Myers v.

U.S., 652 F.3d at 1027. The portion of the audio quoted by Judge Benitez was this

(with ellipsis in bold print):

                QUESTION: [Justice Rawlinson] causation -- in all
                fairness, causation was discussed by both parties during
                the supposed liability phase [of the trial].

                ANSWER: [By Lacie’s counsel] Well, certainly it
                started to creep in when I saw what the judge was doing,


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             but we weren’t able to bring our toxicologist. I wanted to
             bring -- “[“. . . all our medical doctors, our treating
             doctors who have the same . . .”].

Status Conference Transcript, 1 ER0014:15-20. Bolded part not played by Judge


Benitez, but was part of the statement by counsel. Appellate Argument Recording

at 26:46. See footnote 5.

             After Judge Benitez made his redacted quote, he stated:

             THE COURT: So that was the comment, the question,
             that I had, Mr. Cox. what was it that I said or did that
             caused causation to creep into the case?

1 ER0014:22-24.


             Counsel then explained to Judge Benitez what he did was to allow

Dr. Shields, the government’s fate and transfer of soil expert, who was a causation

expert, to testify in the liability phase, over Plaintiff’s objection3. That required

Plaintiff to bring her analytical chemistry expert to show she had elevated thallium

in her urine. Judge Benitez, however, did not allow Lacie to bring her medical

witnesses. CMC Transcript, 146:5-9. Myers One at 1034-35.

             And I said, well, if he’s going to say there’s not enough
             thallium in the dirt, then we should be permitted to say,
             yes, but there’s thallium in her urine, and the only place it
             could have come from is the dirt.

3
 Judge Benitez had overruled Plaintiffs motion to limit the testimony of
Dr. Shields. 2 ER0288-294; 2 ER0285:11-2 ER0286:8.


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1 ER0015:5-9.


             There was no misrepresentation to the Court of Appeal. The “creep”

had to do with Judge Benitez’s ruling just before trial allowing Dr. Shields, mainly

a causation witness, to testify for the government. This Court then correctly ruled

Judge Benitez committed error by conflating causation evidence in his

foreseeability analysis. Myers One at 1034-35.

             The fact that Judge Benitez questioned (erroneously) counsel’s

integrity reflects his bias, choosing to blame counsel for this Court’s ruling.4 Like

Judge Benitez’s assertion that Judge Bennett had not read the record, the full

4
  The following leaves little doubt that Judge Benitez erroneously decided that
counsel was responsible for this Court’s opinion.
             MR. COX: I don't remember, your honor. Probably did.
             But I think the way the trial, honestly, the way the trial
             went, we were trying the issue of causation.

             THE COURT: Yes, you were. That's exactly right.

             MR. COX: As well as the government's negligence.

             THE COURT: But don't blame it on me. Don't go to the
             court of appeals and say it was the judge's fault because I
             had nothing to do with it. That's exactly what you wanted
             to do at the very beginning. (1 ER0020:15-23)

                                   *      *      *

             You had to drag me into it. I don't mean to impugn the
             judge's motivation; isn't that what you said?
             (1 ER0026:1-2)


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record shows that causation crept into Phase I not out of anything that counsel did,

but because Judge Benitez allowed Defendant to put on a witness to testify as to

causation, over Plaintiff’s objection.

             c.     Claim Of Impugning Judge Benitez
             Judge Benitez’s claim (1 ER0025:4-24, 1 ER0026:1-3) that counsel

“impugned” him and his motivation before this Court is baseless. The unredacted

quote from the oral argument is this:

             I, I, I don’t want to impugn his, his intentions, but I felt
             like we were sandbagged when I saw this order. I
             couldn’t believe that, this was so clear that they
             [defendant’s representatives and employees] had violated
             their-violated so many provisions of the FFA . . . their
             [the Government’s] people hadn’t done the kind of
             supervision that had to be done. . .”

Audio of the Court of Appeal argument at 27:50.5

             Thus, Judge Benitez takes part of a statement by counsel, and through

his biased lens, turns it into the assertion that Plaintiff’s counsel is impugning his

intention.




5
 The audio of the oral argument can be found at this Court’s website at
http://www.ca9.uscourts.gov/media/view.php?pk_id=0000005678. See Motion for
Judicial Notice, p.5 C. A recording can be made available for the Court’s
convenience.


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             d.    Judge Benitez’s Determination That Counsel Was Without
                   Integrity
             Judge Benitez concluded the Status Conference two months before

handing down his decision with this unsupported determination:

             The Court: Well, all right. Well, I just want to tell you I
             just don’t appreciate it. And here is what happens. If I
             can trust my lawyer, it makes my life so much easier
             because when a lawyer says something to me and I can
             take it to the bank, then all I have to do is look at it and
             say, okay, is this something I can compare to something
             else. When I have a lawyer I can’t trust, it makes my life
             very, very difficult. So for example, just about
             everything you said to me this morning, all I’m trying to
             do is find out enough information to be able to make a
             decision, and I can’t trust a word you say, not a word.
1 ER0024:23-1 ER0025:9.

             There can be no doubt that his decision was influenced by his

unfounded bias toward counsel. Judge Benitez’s cynical comments about the

integrity of Plaintiff’s counsel impugn the untarnished reputation of a veteran trial

lawyer. Lacie’s counsel has practiced over 46 years, is admitted before this Court

since 1966, and has been admitted before many other courts as well, including the

United States Supreme Court. He has tried over 100 jury trials, carries a

Martindale rating of AV, is an elected Fellow of the American College of Trial

Lawyers and American Board of Trial Advocates, and is a former member of the

California State Bar Ethics Committee and the Committee on the Administration of

Justice. His record is unblemished. Motion for Judicial Notice, Ex. B.


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C.    Plaintiff’s Counsel Did Not Poison The Well With The Expert Witnesses
             In addition to showing his bias, Judge Benitez’s disregard of the

treating physicians requires reversal. The Judge (erroneously) stated that

Plaintiff’s counsel is the reason for rejecting the expert opinions (see, e.g.,

2 ER0123:6-7; 2 ER0124:10-14 (counsel made an “absurd” and “transparent

attempt to circumvent” Federal Rules); 2 ER0126:10-11; 2 ER0133:4-7;

2 ER0136:4-5) and determined that the Plaintiff’s evidence is to be given “no

weight.” Why? Because, as unequivocally announced in the title of Part 6,

section d (2 ER0136) of his decision, Judge Benitez rejected all of Plaintiff’s

expert evidence, determined that “Plaintiff’s counsel ‘Poisons the Well’ with

Expert Witnesses” (2 ER0136:4-5), and engaged in “obvious manipulation” of the

experts’ medical opinions (2 ER0055:13-18).

             As will be shown in detail below, an impartial review of the facts

establishes that Plaintiff’s counsel did not poison the well or in any way

improperly manipulate experts. The evidence shows without any doubt that the

experts were all treating physicians who had formed and expressed their opinions

based on their treatment of plaintiffs before any alleged tampering or poisoning

took place. Providing a witness with publicly available information, reports of

others, or lab tests does not constitute poisoning or tampering.




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             Plaintiff’s three key medical witnesses were Doctors Renfroe

(Plaintiff’s Board Certified treating pediatric neurologist), Eichenfield (Plaintiff’s

Board Certified treating dermatologist) and Brown (Plaintiff’s retained

neuropsychology expert from the University of California at San Diego).

2 ER0055:13-14. The judge similarly rejected the medical causation opinion of the

treating medical witness, Dr. Ronald Yarborough, Ph.D. (psychologist) and

implied that Dr. Michelle Dern, a pediatrician in San Diego was influenced by

lawyers. 2 ER0137:5-7, 2 ER0137:27-2 ER0138:2 .

             Counsel provided each of the experts other than Dr. Dern, with

written medical information about Lacie, including copies of the laboratory test

results showing elevated levels of thallium in Lacie’s urine, copies of Lacie’s

medical records from other treating physicians, and copies of published journal

articles on thallium toxicology recommended by Lacie’s toxicologist. The experts

are all either medical doctors or Ph.Ds. who are board certified in their respective

disciplines and each has decades of experience in their fields. It is a non sequitur

to assert that the opinions of these well-qualified, highly experienced and well

respected professionals would be “manipulated” by providing them copies of

medical records, test results, and published medical articles. This is especially true

where the treating physicians had reached their diagnosis regarding the




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involvement of thallium independently and before receiving any of the material

later provided them.

             Judge Benitez rejects Plaintiff’s experts on his “poisoning the well’’

theory: Plaintiff’s counsel told Dr. Eichenfield about prior tests and there was no

record of other “misinformation” that may “have been conveyed in order to taint

his opinion” (2 ER0127:8-11); “. . . given the surreptitious way that it was

obtained, the Court has elected to disregard Dr. Eichenfield’s opinion, giving it no

weight” (2 ER0142:19-22). “The Court has considered Dr. Renfroe’s testimony

and concluded that it is not worthy of being given any weight. This Court does not

come to this conclusion lightly. First, like Dr. Eichenfield and Dr. Yarborough,

Dr. Renfroe’s opinions were severely compromised by Plaintiff s counsel”

(2 ER0146:25-26). Dr. Renfroe’s opinions “were totally corrupted at an early

stage of his ‘treatment[]’ by counsel; Dr. Brown’s opinion was given only after

Plaintiff’s counsel had “poisoned the well sufficiently” (2 ER0133:5-6).6 Here are

the facts about the three experts.


6
  Judge Benitez’s decision is littered with other instances of his outright rejection
of opinions rendered by other experts offered and assertions about Plaintiff’s
counsel. Here are a few examples: 2 ER0110:4-5 (“Any opinion by Dr. Briggs,
that these results were reliable, is given no weight”); 2 ER0120:19-20 (“The
opinion [of Plaintiff’s toxicologist, Dr. Gustin] is given no weight”); 2 ER0110:5-6
(stating that the March 2000 test result showing that Plaintiff had 10 times normal
levels (6.91) of thallium in her urine “is disregarded”); 2 ER0066:19-21 (stating
that the court gives “little weight” the opinions of Roman Worobel, Plaintiff’s
Certified Industrial Hygienist); 2 ER0090:4-10, 2 ER0089:20 (or the opinion of

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      1.     Dr. Renfroe’s Opinion Was Not “Corrupted”
             Judge Benitez determined that Dr. Renfroe’s opinions were severely

compromised by Plaintiff’s counsel because Plaintiff’s counsel sent “journal

articles” to him on August 30, 2003. 2 ER0142: 21-28. In a Daubert challenge

made in 2005, before the Phase 1 trial, the government sought to exclude

Dr. Renfroe from testifying based in part on the argument that he had been given

scientific literature by counsel. In rejecting the government’s motion, Magistrate

Judge Anthony Battaglia made findings.

             Dr. Renfroe was amply qualified as a pediatrician and neurologist,

who was well qualified to recognize, diagnose, and treat heavy metal toxicity,

including the neurological effects of such toxicity, such as peripheral neuropathy,

mood liability, inattentiveness, memory, and recall problems. 3 ER0331:19-26.

He further found Dr. Renfroe had addressed each of the potential alternative causes

of Lacie’s symptoms raised by defendants, such as autoimmune disorder, and ruled

them out. Id. at 3 ER0332:11-28.

             The Magistrate Judge addressed the claim that counsel sending

medical articles on thallium to Dr. Renfroe was improper.

             The Court does not find this argument to be persuasive.
             Dr. Renfroe researched the scientific literature prior to


Plaintiff’s expert environmental soil chemist Dr. Chorover “are accorded little
weight” and were “unpersuasive”).


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            the receipt of these articles from Plaintiff’s counsel as
            well. Additionally, the Court fails to see how
            Dr. Renfroe’s review or reliance of relevant scientific
            literature of thallium toxicity should be questioned
            simply because such literature was provided by
            Plaintiff’s counsel.

3 ER0333:25-28.


            Judge Benitez approved Magistrate Judge Battaglia’s order

(2 ER0295-296) and, even now, recognizes that (as the legal authorities require) an

expert opinion should be based on “peer-reviewed scientific support” and

“sufficient data” (2 ER0044:5-6). Now, Judge Benitez finds something sinister by

counsel providing the same medical articles to Dr. Renfroe and describes his

opinions as “totally corrupted.” 2 ER0147:25.

            There is another more obvious problem with Judge Benitez’s

“poisoning the well” theory by counsel providing medical literature to Dr. Renfroe

on August 20, 2003. By that time, Dr. Renfroe had seen and examined Lacie four

times over four months. He saw Lacie on April 17, 2003, then again on May 12,

2003, on June 4, 2003, and August 12, 2003. At all of these visits Dr. Renfroe

diagnosed Lacie’s problems the same: thallium toxicity with resultant peripheral

neuropathy, headaches, and behavioral problems including mood liability, and

memory recall problems. He prescribed Neurontin, a medication for her peripheral

neuropathy. See Lacie’s medical chart from Dr. Renfroe, 3 ER0408-412 (April 17,



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2003 visit record); 3 ER0407 (May 12, 2003 visit record); 3 ER0404 (June 4, 2003

visit record); 3 ER0403 (August 12, 2003 visit record). The supposed “poisoning”

of Dr. Renfroe’s opinion, by articles provided on August 30, 2003, could not have

influenced his stated diagnosis made during the previous four months.

      In May of 2003, Lacie is referred by Dr. Renfroe to Dr. Kevin Saunders, a

psychiatrist, and MD in Pensacola to treat Lacie for the emotional problems

associated with her thallium toxicity and her associated hair loss. Dr. Saunders

examines Lacie on August 13, 2003 and diagnoses “Major Depressive Disorder”;

“Educational and academic problem” associated with “Thallium Poisoning”.

Again, there is no evidence that counsel sent any material to Dr. Saunders. The

same is true of Lacie’s visit to a pediatric neurologist, Col. Stephen Sharp, an Air

Force doctor who saw Lacie on September 20, 2001, after the family had moved to

Pensacola, Florida. Dr. Sharp’s medical observation was, “Her alopecia is

certainly typical of thallium exposure. The sensitivity of her fingers and toes is

also likely a manifestation of the sensory neuropathy that is common with this

process.” 3 ER0399, 3 ER0401. There is no evidence Plaintiff’s counsel ever met

or communicated with Col. Sharp. Yet, Judge Benitez determines that the evidence

of causation is “scant and unreliable.” 2 ER0154:17.




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      2.     Counsel Did Not “Bias” Dr. Yarborough
             Judge Benitez states: “Plaintiff’s counsel’s attempts to bias

Dr. Yarborough were downright blatant.” 2 ER0137:3-4. This is so, according to

Judge Benitez, because of the “poisoned the well” theory by counsel giving

Dr. Yarborough documents at a meeting on May 25, 2002. 2 ER0137:15-17. As a

result, according to Judge Benitez, Dr. Yarborough’s opinion regarding causation

may not be expressed, under the case of Goodman v. Staples The Office

Superstore, LLC, 644 F.3d 817 (9th Cir. 2011). Goodman stands for the

proposition, in the Ninth Circuit, from 2011 forward, a treating physician may not

give opinions unless they were formed during treatment, absent an expert report

pursuant to Rule 26(a)(2)(B). Goodman, 644 F.3d at 826. Of course, the opinions

of Dr. Renfroe, Dr. Yarborough, Dr. Eichenfield, and others, were not only formed

during the course of treatment, but the documents given to them (lab reports,

medical reports, and published articles) were received after they had reached their

diagnosis of thallium toxicity. Thus, their opinions were not impacted by the

ruling of Goodman. All of this happened before Goodman was decided.

Judge Benitez goes on:

             “Plaintiff’s education of Dr. Yarborough had nothing to
             do with whatever testing Dr. Yarborough did while he
             was seeing L[acie] in 2002. This blatant effort to taint
             Dr. Yarborough’s opinion and then his attempt to hold
             him out as a disinterested treating physician, renders



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             Dr. Yarborough’s causation opinion unreliable, and
             untrustworthy of any weight.”

2 ER0137:26-2 ER0138:2.


             Judge Benitez’s Order determined the “poisoning [of] the well” of

Dr. Yarborough occurred on May 25, 2002. 2 ER0137:15-23. The deposition

actually states, the meeting with Plaintiff’s counsel took place on May 25, 2004,

two years later. 3 ER0603:1-25.

             Before that meeting, Dr. Yarborough had already reached his opinion

about thallium toxicity being the cause of Lacie’s problems. See, for example,

3 ER0602, a January 17, 2003 medical record of Dr. Yarborough’s, wherein he

states under diagnosis, “294.9, secondary to thallium dichromate exposure, with

accompanying alopecia and Premature growth.” In block 9 of that form,

Dr. Yarborough goes on, “Patient has minimal ability to abstract, and learning is

impaired. Shows organic signs of perseveration . . . due to measurable 1% tile

deficiency in abstracting ability.”

             Thus, Dr. Yarborough’s opinions about causation related to thallium,

and the serious problems Lacie was having as a result, arose during course of his

treatment of Lacie over one year and four months before the supposed “poisoning”

by counsel. As a consequence, the district court improperly and erroneously




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rejected Dr. Yarborough’s causation opinion based on his flawed Goodman

analysis.

      3.     Dr. Michelle Dern’s Opinion Was Not “Manipulated By Counsel”
             According to Judge Benitez, Dr. Dern met with Lacie on July 9, 2000

in an appointment arranged by Plaintiff’s lawyers. 2 ER0123:9-15. The facts are

that Lacie met Dr. Dern, a pediatrician at the University of California Medical

Center in San Diego, for the first time on April 28, 2000. The July 9 meeting was

with her then lawyers, not Lacie’s present lawyers. The meeting referenced,

erroneously by Judge Benitez, as being on July 9, 2000, was actually on July 19,

2000. Either way, almost three months earlier, at her first appointment, Dr. Dern

examines Lacie, takes a history of abdominal pains, and constipation, and

diagnoses Lacie: “Alopecia, likely secondary to thallium toxicity.” 3 ER0516.

There is no evidence of any lawyer poisoning the well in April. Like other experts,

Dr. Dern does not fit Judge Benitez’s “poisoning the well” theory and is another

example of his mindset to justify his earlier decision.

      4.     Counsel Did Not Poison The Opinion Of Dr. Eichenfield
             Judge Benitez sweeps aside the opinion of Plaintiff’s treating Board

Certified dermatologist, Dr. Richard Eichenfield, in favor of the government’s paid

expert, Dr. Norris. 2 ER0127:20-22. He does so with a variation of the “poison




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the well” theme he uses throughout his order. He rules Dr. Eichenfield’s opinion is

given “no weight.” 2 ER0126:9-11.

             Dr. Eichenfield is a well-respected pediatric dermatologist at

Children’s Hospital in San Diego. 2 ER0121:15-17. When Lacie starts losing her

hair in early 2000, she is sent by her Navy family practitioner, Lt. Cmd. Lennard,

to Dr. Eichenfield at Children’s Hospital in San Diego. Dr. Eichenfield first sees

Lacie and her mother on March 20, 2000. He examines Lacie and reaches a

diagnosis of alopecia areata, with toxin or heavy metal poisoning in the

differential. 3 ER0461. Dr. Eichenfield hears from the mother there has been

testing done for heavy metals, but, the results are not yet available. Id.

Dr. Eichenfield then writes a letter to Lt. Cmdr. Lennard, Lacie’s primary care

physician, at the Navy Hospital on Camp Pendleton, reporting his diagnosis, and

states he would like to see the laboratory work that was done. Id.

             By this time Lt. Cmdr. Lennard has sent Lacie’s urine sample through

normal Navy channels to Quest Diagnostics. The sample drawn on March 13,

2000, is sent by Quest to the lab they normally use for heavy metal analysis,

National Medical Service, in Willow Grove, Pa. 3 ER0467. The analysis is done,

and reported out by the lab to be positive for thallium at 6.9 mcg/l. Normal for

unexposed adults is 0.7 mcg/l. Id. Thus, Lacie’s urine level is 10 times higher

than a unexposed adult. Id. at 2. The result is reported out on March 29, 2000 to


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the Navy. Id. at 1. In spite of Dr. Eichenfield’s request, the lab report is never

forwarded to him by the Navy.

             Dr. Eichenfield sees Lacie again on April 10, 2000. He still hasn’t

received the lab report from the Navy, as requested. His diagnosis is similar to his

previous one except now he has learned thallium is the heavy metal involved. His

April 10, 2000 office note reads, “alopecia-areata vs toxic exposure (?thallium).”

3 ER0460. He still is without the lab result reporting the positive finding in

Lacie’s urine. Nobody at the Navy has sent it to him. There is a reason.

             At this time, the Marine Corp. was planning a public hearing

regarding the concerns of Lacie’s hair loss. The Commanding Officer of the Navy

Hospital, T.K. Burkhard, sends a report to the Commanding General of Camp

Pendleton, on April 18, 2000, and incorrectly states, a noted dermatologist

(Dr. Eichenfield) had seen the patient, and determined the hair loss was not due to

toxic exposure. 3 ER0352-354. When shown this statement at trial,

Dr. Eichenfield said the statement is a misrepresentation of his “sense about Lacie,

and the cause of her alopecia.” 2 ER0258:2-2 ER0259:1.

             Dr. Eichenfield’s April 10, 2000 office notes indicate Lacie is to

return in 4-6 weeks, in the last two weeks of May, 2000. 3 ER0460. Lacie did not

show up for that expected appointment. Dr. Eichenfield became aware of the lab

result during that April/May 2000 time period. 2 ER0257:16-25; 2 ER0258:1;


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2 ER0260:13-16. The lab result confirmed to him thallium was the cause of her

alopecia. Id.

                Judge Benitez ignores this testimony of Dr. Eichenfield as to when he

first saw the lab result, because it doesn’t fit his “Plaintiff’s counsel poisoning the

well” scenario. Instead, he concludes Plaintiff’s counsel gave him the lab result

prior to his deposition in 2004. 2 ER0123:6-7. Obviously the lab results were

being circulated during the end of April, first part of May, 2000. Dr. Dern knew of

the 6.9 lab result on April 28, 2000, and notes it in her chart. 3 ER0515.

                Even if the lab result was given to Dr. Eichenfield before his

deposition in 2004 by Plaintiff’s counsel, so what? The lab result was reported to

the Navy at the time Dr. Eichenfield was treating Lacie in March of 2000. He

wanted to get it, to confirm his diagnosis, but the Navy didn’t give it to him. The

lab result confirms thallium toxicity being the cause of Lacie’s hair loss.

Furthermore, the district court’s reliance on Goodman for the proposition that

giving a lab result to a treating physician relating to his already expressed

diagnosis is misplaced. In any event, Goodman is to be viewed prospectively from

2011, and has no retrospective impact to 2004.

                Judge Benitez also sees something sinister in Lacie coming to see

Dr. Eichenfield and Dr. Renfroe in 2011. His order states neither were listed as

expert witnesses. 2 ER0145:9-11. In fact, both were listed as non-retained experts


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by Plaintiff both prior to the 2006 trial, and then again in 2012, 2 ER0313-314;

Plaintiff’s Disclosures of Expert Witnesses, March 29, 2012. Both of the 2011

visits were as treating doctors. On questioning at trial, Dr. Eichenfield said his

2011 opinions were, like his 2,000 opinions, based on his clinical impressions.

2 ER0255:1-25; 2 ER0256:1-16. No separate reports under Rule 26 were

requested or prepared, because none were required. In addition, following the

2011 visits of both doctors, the records of the visits were provided to the

government lawyers, and both Dr. Renfroe and Dr. Eichenfield were deposed.

Thus, the government lawyers knew what each doctor had to say about their 2011

visits, over a year before the Phase 2 trial.

             At trial, Judge Benitez’s biased treatment of Plaintiff’s witnesses

continues. He sustained a government objection to Dr. Eichenfield testifying about

his 2011 visit with Lacie. Then, in his order, he criticized Dr. Eichenfield for not

answering his questions to the “Court’s satisfaction” related to that visit.

2 ER0127:12-23. Judge Benitez, then, criticizes Dr. Eichenfield for not making a

rigorous differential diagnosis in reaching his opinion Lacie’s alopecia is related to

thallium exposure. 2 ER0125:11-12. Yet, Dr. Eichenfield specifically rules out

the other suspected causes in a differential for hair loss: thyroid disease associated

with alopecia areata; vitiligo (loss of skin pigmentation) associated with hair loss;

Addison’s disease; anemias. 2 ER0252-254.


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             Finally, Judge Benitez criticizes Dr. Eichenfield, as well as the other

Navy doctors, Dr. Lennard, and Dr. Robinson for not treating Lacie for thallium

poisoning by giving Lacie “Prussian Blue” as a chelating agent, since that is the

“standard treatment for poisoning.” 2 ER0087:25-27. There is no evidence in the

record, “Prussian Blue” was the “standard treatment for poisoning” for someone

like Lacie in 2000. In fact, as of 1993, Prussian Blue had not been approved for

use in the United States. 3 ER0440 “A Review of Thallium Toxicity” Mulkey and

Oehme, page 7. There is no evidence in the record it had been approved for use in

the United States as of 2000. Apparently, Judge Benitez’s invents a “standard

treatment for poisoning” to serve his biased narrative.

      5.     Dr. Sandra Brown
             Judge Benitez continues his “poison the well” theory when discussing

Dr. Sandra Brown, Plaintiff’s retained expert on neuropsychiatry. She is a

professor in the Department of Psychiatry at the University of California San

Diego. 2 ER0229:1-8. “Dr. Brown testified that she was provided a considerable

amount of information by Plaintiff’s counsel, including a series of articles on

thallium poisoning as well as medical records. In other words, after having,

“poisoned the well” sufficiently, Plaintiff’s counsel asked her to administer tests

and evaluate L.” 2 ER0133:2-6. Of course, that is exactly what every lawyer who

has retained an expert does: provide relevant material, including medical records,



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in this case, articles on thallium, school records, etc. Nevertheless, Judge Benitez

finds “poison” in every communication by Lacie’s counsel.

             Dr. Brown performed neuropsychological testing on Lacie in 2003,

and then again in 2012, found significant deficits in memory, executive

functioning, and concentration, all of such cognitive and behavioral problems

caused by thallium toxicity. 2 ER0129:26-28. Contrary to Judge Benitez’s finding

(2 ER0128:3-12), such deficits are known to be caused by thallium toxicity.

3 ER0416, 419, 421, 423-424, 426, 433.

                                   ARGUMENT

A.    Judge Benitez Committed Reversible Error By Failing To Recuse
      Himself Under 28 U.S.C. § 455
             The standard of review for failure to recuse is abuse of discretion,

United States v. Sibla, 624 F.2d 864, 869 (9th Cir. 1980). Here, Plaintiff requested

reassignment to a different judge in this Court on the first appeal, Myers One at

1037-38, and strongly suggested bias to be a problem at the District Court after

remand. If this Court determined that no prior request was made and that the issue

was raised for the first time on appeal, the standard is “plain error.” United States

v. Holland, 519 F.3d 909, 911 (9th Cir. 2008).

             Under either standard, it is absolutely clear that Judge Benitez should

have recused himself.




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             “[R]ecusal issues must be raised at the earliest possible time after the

facts are discovered.” First Interstate Bank of Ariz., N.A. v. Murphy, Weir &

Butler, 210 F.3d 983, 988 n.8 (9th Cir. 2000). While no formal motion to

disqualify Judge Benitez was made under 28 U.S.C. § 144, there is no doubt that

after Judge Benitez first indicated that he harbored resentment and antipathy for

this Court’s reversal, counsel for plaintiff raised his concerns about whether

Judge Benitez could act impartially. 1 ER0034:8-14. The Judge’s response left no

doubt that any formal request or motion would be a waste of time. 7

      In any event, in this Circuit, it is not necessary that a motion for

disqualification be made in the lower court. Disqualification can be raised for the

first time on appeal. Sibla, 624 F.2d at 868. “Nonetheless, if no motion is made to

the judge . . . a party will bear a greater burden on appeal in demonstrating that the

judge . . . [erred] in failing to grant recusal under section 455.” See also Noli v.

CIR, 860 F.2d 1521, 1527 (9th Cir. 1988).

             Section 455 requires a judge to disqualify himself or herself from

(a) “any proceeding in which his impartiality might reasonably be questioned” and

(b)(1) “[w]here he has a personal bias or prejudice concerning a party.”

Section 455(b)(1) is simply a specific example of situations where a judge’s


7
  “I think you asked for me to be removed and some other judge to be—that is not
going to happen.” 1 ER0034:15-17.


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impartiality might reasonably be questioned. Sibla, 624 F.2d at 867. See also

Clemens v. U.S. Dist. Court for Cent. Dist. of Cal., 428 F.3d 1175, 1178 (9th Cir.

2005) (quoting In re Mason, 916 F.2d 384, 386 (7th Cir. 1990) (Defining a

“reasonable person” as someone who is “a ‘well-informed, thoughtful observer,’ as

opposed to a ‘hypersensitive or unduly suspicious person.’”)). It does not matter

whether or not there is a “reality of bias or prejudice” so long as there is an

appearance of bias. Liteky v. United States, 510 U.S. 540, 548 (1994).

             Traditionally, any showing of bias had to come from an extrajudicial

source. United States v. Grinnell Corp., 384 U.S. 563, 583 (1966). The Supreme

Court in Liteky clarified that an extrajudicial source “is not a necessary condition

for ‘bias or prejudice’ recusal.” Liteky, 510 U.S. at 554 (emphasis in original).

Instead, “opinions formed by the judge on the basis of facts introduced or events

occurring in the course of the current proceedings, or of prior proceedings” can be

used to show the bias of a judge if “they display a deep-seated favoritism or

antagonism that would make fair judgment impossible.” Id. at 555. Here, of

course, Judge Benitez’s remarks and actions show a “deep-seated favoritism or

antagonism that would make fair judgment impossible.” Id.

             Comments directed towards counsel or counsel’s ability, skills or

strategy are not usually sufficient to establish bias. In re Marshall, 721 F.3d 1032,

1043 (9th Cir. 2013) (citing Liteky, 510 U.S. at 555). However, as held in Baldwin


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Hardware Corp. v. Franksu Enter. Corp., 78 F.3d 550 (Fed. Cir. 1996) hostility

and bias directed at counsel can be the basis for recusal or disqualification if it

“results in material and identifiable harm to that party’s case.” Baldwin, 78 F.3d at

557-58 (citing United States v. Burt, 765 F.2d 1364, 1368 (9th Cir. 1985)

(requiring that the bias against counsel be “virulent”)). This Court has suggested

that comments directed at counsel should result in disqualification if they are

directed to the integrity or good faith of counsel as opposed to counsel’s skill. See

United States v. Wilkerson, 208 F.3d 794, 798 (9th Cir. 2000) (“[C]utting

comments to counsel, particularly those relating to skill rather than good faith or

integrity, will not generally mandate reversal.”) (internal quotation marks omitted).

See also United States v. Berberian, 851 F.2d 236, 240 (9th Cir. 1988) (noting that

Judge Pfaelzer had immediately recused herself after telling defendant’s counsel

that she felt ‘that [he] lack[ed] integrity’); United States v. Kennedy, 682 F.3d 244,

259-60 (3d Cir. 2012) (reversing the district court for failure of district judge to

follow the mandate, and reassigning the case to another judge based in part

because the judge “undermines the professionalism of” the party’s counsel);

Rosen v. Sugarman, 357 F.2d 794, 798 (2d Cir. 1966).

             Given these standards, there can be no question that Judge Benitez

exhibited extreme and virulent bias towards this Court, Lacie, and her counsel, and

should have recused himself after the mandate was handed down. That necessity


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was confirmed by Judge Benitez announcing that he no longer respected counsel’s

integrity. That is the point where Judge Pfaelzer stepped down in Los Angeles (see

Berberian, 851 F.2d at 240), and Chief Judge Pratt stepped down in Iowa (see

United States v. Likens, 487 F. Supp. 2d 1046 (S.D. Iowa 2007.) 8

B.      Judge Benitez’s Refusal To Follow The Rule Of Mandate Results Is
        Reversible Error
             Under the “rule of mandate” doctrine, the district court was obligated

to abide by the mandate without varying from it or examining it. United States v.

Thrasher, 483 F.3d 977, 981 (9th Cir. 2007) (citing In re Sanford Fork & Tool Co.,

160 U.S. 247, 255-56 (1895)). The standard of review is de novo, as those issues

raise questions of law. Terran v. Kaplan, 109 F.3d 1428, 1432-33 (9th Cir. 1997).

             After stating he was “somewhat troubled” by the Ninth Circuit’s

conclusion about the failure to “review the perimeter air monitoring data.”

2 ER0074:12-18. Judge Benitez went to on to demonstrate his refusal to follow the

mandate. Here are a few of the more egregious examples:

     Issue Determined By The Mandate        Judge Benitez’s Contrary Holdings
                                                   in Phase 2 Decision

8
   “I must candidly admit that such knowledge, combined with the mandate from
the Court of Appeals, has caused me to develop a bias against the Government and
its request for a sentence of imprisonment for Likens. I am unable to fathom the
voracious appetite for a sentence of imprisonment in this case, and unwilling to
impose one, but realize that failure to do so would likely result in the sentence
being vacated once again by the Eighth Circuit Court of Appeals and assigned to a
different judge for yet another resentencing.” Likens, 487 F. Supp. 2d at 1047.


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 Issue Determined By The Mandate                Judge Benitez’s Contrary Holdings
                                                       in Phase 2 Decision
 “Tests of the soil in all five areas           “. . . the thallium concentrations for
indicated contamination with toxic             sites 1A and 2A were very low. The
substances, but two, known as Sites 1A         evidence supports the conclusion”
and 2A, showed elevated levels of              2 ER0054:19-21.
thallium” (emphasis added) (p. 1024).

Thallium was among the “primary                “The phase 1 and phase 2
contributors” to a high “Hazard Index”         investigations of all the sites showed
(HI) for Sites 1A and 2A, indicating a         that thallium was not a major threat”
potentially “unacceptable risk” to             2 ER0051:28-2 ER0052:1.
human health posed by the elevated
levels of thallium and other
contaminants in soils (p. 1025).
“The HASP [Site Health and Safety              The HASP “says nothing about
Plan] included requirements for                measuring total dust and, in fact, by
monitoring ambient air and airborne            definition excludes any particulates
contaminants, including levels for total       above 10 micrometers in size”
dust that should have required work            2 ER0068:24-25.
stoppages” (p. 1025).
“The district court found that the air         “The air monitors employed by
monitors employed by IT/OHM were               IT/OHM were appropriate for the task”
appropriate for the task. However, the         2 ER0081:24-25.
district court failed to note that the air
monitoring device specified did not
monitor ‘total dust,’ but only dust
particles smaller than a certain size”
(p. 1025).
“Some analyses of Myers’ urine in              “and the 6.91 test result [referring to
March 2000 indicated concentrations of         the March 2000 analyses], itself, is
thallium well in excess of (as much as         disregarded” 2 ER0110:5-6.
ten times) those expected in the urine of
persons who had not been exposed to            The March 2000 test result is a “single,
thallium” (p. 1026).                           deeply flawed, urine lab test result.”
                                               2 ER0055:11. “The GFAAS
                                               laboratory test results of L’s urine


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 Issue Determined By The Mandate            Judge Benitez’s Contrary Holdings
                                                   in Phase 2 Decision
                                            samples performed by NMS are
                                            unreliable.”
                                            2 ER0098:23-2 ER099:1

“Subsequent tests purportedly showed        Referring to the “subsequent”
no concentrations of thallium in excess     (post-March 2000) testing for which
of those expected in a non-exposed          the raw data has been destroyed,
person. The raw data for those later        Judge Benitez holds, “. . . these results
tests was destroyed after this litigation   of approximately 0.2 mcg/L reliably
commenced, however, so that there is        and accurately described the thallium
no way to determine the reliability of      level in L’s urine. . .2 ER0099:25-27.
those tests” (p. 1026).
“The district court found that there were   “. . . there were occasions where the
‘occasions’ in the course of the project    action level for airborne dust might
when the air monitoring equipment           have been exceeded.”
registered dust levels in excess of the     2 ER0081:25-26.
levels that were supposed to require
work stoppages (called ‘exceedances’        “Regrettably, the author of the Ninth
by the parties), but did not note that      Circuit Opinion noted that the trial
record evidence showed that such            court had failed to note that there were
exceedances occurred more than 200          over 200 exceedances.” 2 ER0077:2-3
times.” (p. 1026)
                                            “[E]ven if Navy QAO, Nars Ancog,
                                            had reviewed every one of the 3,379
                                            perimeter air monitor readings during
                                            each of the 99 days of the Box
                                            Canyon project, he would not have
                                            had occasion to stop the remediation
                                            work because of a HASP action level
                                            exceedance.” 2 ER0082:2-5.
 Issue Determined By The Mandate         Judge Benitez’s Contrary Holdings
                                                  in Phase 2 Decision
652 F.3d 1024 fn. 2: “There is no       2 ER0043 :1-2: “[Thallium] is an
question that thallium is highly toxic. element that is toxic at higher doses
According to a World Health             but relatively harmless at a very low
Organization report from 1996, cited in dose.”


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  Issue Determined By The Mandate           Judge Benitez’s Contrary Holdings
                                                   in Phase 2 Decision
the record, no study has determined a
‘no-observed-effect level’ for exposure     2 ER0087 :20-25: “The PRG was
to thallium. World Health                   designed to be 3,000 times less than
Organization, Environmental Health          the "no observable adverse effect
Criteria 182: Thallium 204-05 (1996).”      level" (also known as NOAEL)
                                            derived from animal studies. [¶] In
                                            other words, through scientific
                                            studies on the effect of thallium on
                                            animals, an amount of thallium was
                                            determined to have no observable
                                            adverse effect on animals.”

652 F.3d at 1036: “Violation of the         2 ER0093:3-5 “The evidence does
mandatory duty to review the HASP is        not convince the Court that
plainly a breach of the duty to exercise    Defendant was negligent in its task
reasonable care to ensure that the          of ensuring IT/OHM [contractor]
contractor took reasonable care to          performed the Box Canyon work
follow required safety precautions.”        with adequate safety measures in
                                            place.”
Id. at 1037: “violation of the
mandatory duty to ensure adherence to
the safety plans is plainly a breach of
the duty to exercise reasonable care to
ensure that the contractor took
reasonable care to follow required
safety precautions.”


             As the table above demonstrates, Judge Benitez’s Phase 2 decision

makes findings on key issues that are the exact opposite of those reached by this

Court in its opinion following the Phase 1 appeal.

             The judge’s contravention of the mandate cannot be characterized as

“harmless error”; indeed, his contrary findings were highly prejudicial to Plaintiff’s



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ability to prove her case in Phase 2. For example, by rejecting this Court’s

determination that the soils at Sites 1A and 2A contained elevated levels of

thallium and substituting his own judgment that the thallium levels at those sites

was “very low,” Judge Benitez made it virtually impossible for Plaintiff to prove

that her injuries were caused by exposure to the thallium in those soils (how could

Plaintiff possibly hope to show that she was harmed by soils that did not contain

potentially harmful levels of thallium?). Similarly, by rejecting this Court’s

determination that the analyses of Plaintiff’s urine in March 2000 showed elevated

levels of thallium as much as 10 times those of unexposed individuals, Judge

Benitez deprived the Plaintiff of perhaps the most compelling evidence that she

was, in fact, exposed to dangerous levels of thallium and that such exposure was

the cause of her injuries. In addition, by rejecting this Court’s finding there is not a

NOEL (No-observed-effect-level) for thallium, Judge Benitez then concludes there

is a NOAEL for thallium. This, in turn, led him to conclude thallium to be

relatively harmless in very low doses, when there is no scientific basis for such a

conclusion. In short, Judge Benitez contradicts the mandate on issues that were

foundational to the Plaintiff’s claims that she was harmed by exposure to thallium

as the result of the Navy’s negligence.




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C.    It Was Reversible Error To Deny Plaintiff’s Motion To Shift The
      Burden Of Proof
             Plaintiff in her Memorandum of Contentions of Fact and Law/Pretrial

Disclosures argued that because of the Government’s negligence regarding test

data, the burden of proof must shift to Defendant to prove its negligence was not

the proximate cause of Lacie’s injuries. 2 ER0308:12-2 ER0312:2. Judge Benitez

denied Plaintiff’s request to shift the burden of proof. 2 ER0056:4-2 ER0057:17.

This is further evidence of his bias and impartiality, because his rejection has no

basis under the facts of this case. Moreover, the decision not to shift the burden of

proof on causation to the Government constituted reversible error in and of itself.

The standard of review is de novo, as those issues raise questions of law. Terran,

109 F.3d at 1432-33.

             The leading California case is Haft v. Lone Palm Hotel, 3 Cal. 3d 756

(1970). There two people drowned in a hotel swimming pool which had no life

guard, as required by state statute. As a result, there were no witnesses to the

drowning. The court shifted the burden of proof on causation when plaintiffs were

able to show that a competent life guard, and proper safety warnings, would have

likely prevented the deaths. The court reasoned that requiring the plaintiff to

establish proximate cause to a greater certainty would permit the defendant to

profit in a situation where the defendant’s negligence caused the lack of proof of




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what occurred. See also Summers v Tice, 33 Cal. 2d 80 (1948); Ybarra v

Spangard, 25 Cal. 2d 486 (1944).

             In this case, like Haft, the absence of definitive evidence on causation

is a direct and foreseeable result of defendants’ negligence. In Haft, it was

foreseeable, without a lifeguard, someone could drown, and there would be no

evidence of the cause of the drowning. Accordingly, the burden of proof was

switched to the defendant to prove the lack of a lifeguard was not causative. Here,

a foreseeable result of defendant’s negligence is that someone in the Wire

Mountain housing area could be injured by contaminated dust blowing off the

landfill; and further, the uncertainty as to how much contaminated dust, and which

contaminants were involved, is the direct result of the Government’s negligence.

The uncertainty as to causation in Lacie’s case is a result of an improperly

managed and supervised air monitoring system. Had the Government not been

negligent in failing to have a CIH review the HASP, a proper air monitoring

system would have been in place, just like the one the Government used in 1997

and 2001, measuring total dust. The same is true as to the failure of Nars Ancog,

the Navy’s Quality Assurance Officer, to review the monitoring data to see

exceedances were occurring, and that IT/OHM was not measuring for total dust as

called for in the HASP. Both of these negligent conducts led to inadequate

measurements of the amount and type of dust migrating off the land fill, resulting


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in everyone’s inability to know how much dust was being blown off the landfill,

and how much thallium was contained in that dust.

             This California law about proof of causation has been uniformly

applied by California courts in many settings where the defendant was in control of

the instrumentality of injury, or whose acts caused the uncertainty. See Ybarra,

supra; Summers; Harris v. Irish Truck Lines, Inc., 11 Cal. 3d 373, 378 (1974).

             The same law about burden shifting applies to a clearly negligent

party. When a negligent party and an innocent cause combined to create an

indivisible injury, the burden of proof of causation is shifted to the wrongdoer.

Fiberboard Paper Products Corp. v. E. Bay Union of Machinists, 227 Cal. App. 2d

675, 704-05 (1964). If the defendant cannot meet the burden, the defendant is

liable for all the damage. The same applies in other factual settings involving

indivisible injuries. Multiple negligent auto drivers who successively collide with

plaintiff, and plaintiff’s injury is not susceptible to apportionment, shifts the burden

on causation to the drivers to prove they did not cause plaintiff’s injuries.

Cummings v. Kendall, 41 Cal. App. 2d 549, 558-59 (1940).

             Application of these authorities operates to shift the burden of proof to

the Government to prove either: (1) Lacie has not suffered an injury due to being

exposed to thallium, or, (2) her exposure to thallium comes from a source, other

than the landfill. If Lacie has suffered from exposure to thallium, the only known


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source is the landfill. She is the foreseeable plaintiff, suffering from the

foreseeable injury. The only missing link to create certainty is specific evidence of

thallium leaving the landfill and migrating to Lacie. The lack of proper air

monitoring resulting from the Government’s negligence has made it impossible for

Lacie to prove causation with that certainty. Under the California law, the

Government must prove they did not allow thallium to migrate off site. The only

way to prove that one way or the other is to have proper air monitoring data of both

respirable dust (PM-10), and total dust as well as a speciation of that dust. The

Government negligently failed to provide either.

             Haft v. Lone Palm Hotel states settled law and has been followed in

several federal jurisdictions involving FTCA claims based on the failure of the

government to properly supervise its contractor, or to properly monitor dangerous

contaminants, or radioactive fallout. See, e.g., Dickerson, Inc. v. Holloway,

685 F. Supp. 1555, 1569 (S.D. Fla. 1987); Allen v. United States, 588 F. Supp. 247,

411-413 (D. Utah 1984), rev’d on other grounds, 816 F.2d 1417 (10th Cir. 1987).

             Judge Benitez incorrectly determined that burden shifting was

improper under Haft because Lacie’s injuries were uncertain nor could it be said

with certainty that the injuries were caused by Box Canyon thallium dust.

2 ER0056:26-2 ER0057:17. Of course, this misses the whole point of Haft since it

ignores the fact that any uncertainty was caused by the Government’s negligence.


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Sanderson v. International Flavors and Fragrances, Inc., 950 F. Supp. 981 (C.D.

Cal. 1996), relied upon by Judge Benitez, is inapplicable and does not even cite

Haft. That case involved application of the doctrine of “alternative liability,”

which permits burden shifting to multiple defendants where a plaintiff can prove

injury was caused by one of them, but where plaintiff is not sure which one. Here,

there is no doubt that Lacie has suffered injury. Haft applies to the situation here,

where the negligence of a party is the cause of the plaintiff being able to prove

causation with certainty. See Galanek v. Wismar, 68 Cal. App. 4th 1417, 1426

(1999) (burden shifted to attorney in legal malpractice case to prove that his

negligence in allowing destruction of key evidence did not cause client to lose

case).

              Although Judge Benitez off-handedly stated that even if the

Government had the burden of proof on causation, it met it (2 ER0056:22-25), it is

clear under this Court’s ruling, the Government, did not properly monitor total dust

coming off the landfill. In the end, this Court should find Lacie’s injuries were

proximately caused by the Government’s negligence, and remand the case limited

to the issue of damages.




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D.    This Court Should Determine The Issue Of Causation And Remand The
      Case To A New Judge To Decide Damages On The Basis Of The Record
      And Further Briefing
      1.     This Court Can Make Findings That The Government’s
             Negligence Proximately Caused Lacie’s Injuries
             Because of Judge Benitez’s error in failing to shift the burden of proof

to the Government on the issue of causation, this Court can find on the present

record that the Government has failed to prove that its negligence was not the

cause of Lacie’s injuries. In the alternative, it can find on this record, much in the

same way that it determined that the Government was negligent in Myers One, that

the Government’s negligence proximately caused Lacie’s injuries. Viewed

without the constraints of Judge Benitez’s improper ruling dealing with “poisoning

the well,” the medical evidence clearly indicates Lacie was suffering from the

classical symptoms of thallium toxicity: alopecia, gastric problems, peripheral

neuropathy, and cognitive dysfunction.

             a.     Gastrointestinal Symptom
             Both of Lacie’s parents testified that Lacie suffered gastrointestinal

problems early in the course of her illness, and that they took her for treatment

with Dr. William Lennard, a Navy physician from the Naval Hospital at Camp

Pendleton. Judge Benitez dismisses the parents’ testimony as unreliable, stating,

“The medical records however do not support such a claim.” 2 ER0138. Judge

Benitez fails to note the evidence in the record making clear that, for some


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unknown reason, the Navy failed to preserve a complete copy of Lacie’s medical

records. In particular, the evidence is clear that Lacie was treated at the Naval

Hospital on Camp Pendleton in December of 1999, but that the records regarding

her treatment from that time period were not preserved. Dr. Lennard testified that

he remembers seeing Lacie “before Christmas sometime in late ’99.” 2 ER0166

(citing Docket Entry 525 at 12:21-13:4). Dr. Lennard’s memory regarding his

treatment of Lacie in December of 1999 is corroborated by the fact that his

treatment notes from March of 2000 (the earliest record preserved by the Naval

Hospital) states that he was seeing Lacie at that time “for follow-up.” 2 ER0166

(citing Docket Entry 525 at 13:16-24).

             b.    Peripheral Neuropathy
             Lacie suffered from peripheral neuropathy, a symptom commonly

seen in cases of thallium poisoning. 2 ER0221:14-2 ER0222 (Testimony of

Dr. Barry Gustin). Christine Myers testified Lacie complained of heat sensitivity in

her hands and feet from the time her hair was falling out in 1999, and she was

suffering with gastro intestinal distress. 2 ER0263:9-19. Dr. Stephen Sharp, an

Air Force Col. and pediatric neurologist in Pensacola, observed that the sensitivity

in Lacie’s hands and feet were consistent with a sensory neuropathy that is

common with thallium toxicity. 3 ER0399. Dr. Ben Renfroe, Lacie’s treating

pediatric neurologist, also testified Lacie had peripheral neuropathy by history and



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examination, which, along with her other symptoms of alopecia and

encephalopathy, are caused by thallium toxicity. He could see no other

explanation for this constellation of abnormalities in Lacie. 2 ER0248:8-

2 ER0249:3. Numerous other treating doctors observed peripheral neuropathy and

the other described symptoms and connected them to Lacie’s exposure to thallium.

See 3 ER0479-600, a summary chart with referenced medical records as exhibits.9

             The government offered only Dr. Snead, their paid neurologist to

counter the findings of these doctors of peripheral neuropathy. However,

Dr. Snead didn’t see Lacie until August 14, 2004 when he first examined her.

2 ER0209:14-19. Prior to that time, Dr. Sharp (September of 2001) and

Dr. Renfroe (April 2003), both pediatric neurologists, found Lacie suffered from

peripheral neuropathy.

             c.    Lacie Had Elevated LDH Levels In Her Blood
             Lacie’s hair loss is undeniable. The issue at the trial was whether that

hair loss was due to toxic exposure, or alopecia aerate, an autoimune disorder.

Dr. Eichenfield stated it was due to exposure to thallium, while Dr. Norris, the



9
   The records of twelve treating doctors are compiled in Exhibit 862 (3
ER0479-600), used by Plaintiff’s counsel in argument and provided to the court, at
its request, following argument. Exhibit 862 contains attachments of the relevant
medical records of the twelve of Lacie’s treating doctors. 2 ER0205:6-8,
2 ER0161-203.


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government’s retained dermatologist opined it was alopecia areata. The objective

evidence supports toxic exposure as the cause.

             In March of 2000, the Navy’s laboratory at the NHCP tested Lacie’s

blood for lactate dehydrogenase (LDH), and the NHCP’s laboratory flagged the

results as “high” (above the normal range). 3 ER0383. This objective laboratory

finding supports the conclusion that Lacie’s symptoms were caused by toxic

exposure to thallium.

             d.     The Published Literature And The Parties’ Experts Agree
                    That Increased LDH Levels Are An Indicator Of Thallium
                    Toxicity
             A 1988 study of rats exposed to low levels of thallium over a 90-day

period showed increases in LDH levels in treated animals. 3 ER0445. The EPA

later observed the authors of the study (Stoltz, et al.) noted that, after the first 30

days of exposure to thallium, both male and female rats had “moderately

increased” LDH levels in a “dose-related pattern.” 3 ER0445. After the full 90

days of exposure, male rats showed increased LDH levels “in all groups receiving

thallium, and female rats in the 0.25 mg/kg exposure group also showed increased

LDH levels. Id. Notably, the 90 day rat study discussed here involved the lowest

doses of thallium ever tested. 3 ER0433, 3 ER0455. In addition to increases in

LDH levels, alopecia (hair loss) was observed in the rats exposed to these very low

levels of thallium, leading the WHO to conclude that even the very lowest dose



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ever studied (0.01 mg/kg) is associated with adverse effects. 3 ER0433, 3 ER0455.

Moreover, humans are considered to be “more sensitive than laboratory rodents to

the toxic effects of thallium.” 3 ER0433, 3 ER0455.

             Likewise, the World Health Organization noted that the study showed

“[s]mall but statistically significant changes in some clinical chemistry parameters”

(clearly referring to LDH, although LDH is not mentioned explicitly) at even the

lowest dose level. 3 ER0433, sections 10.1.4 and 10.1.5, 3 ER0455.

             Indeed, during a rare moment of candor, in response to a question

from the Court, the Defendant’s own expert, Dr. Norris, admitted that elevated

LDH levels are an indicator of cell damage from toxic exposure:

             THE COURT: Before you start, Mr. Cox, I have a
             question.
             There was mention of LDH. I think I got that right.

             THE WITNESS: Lactate dehydrogenase.
             THE COURT: Is there any relationship between LDH
             and alopecia areata and/or thallium toxicity to your
             experience that you know of?

             THE WITNESS: Well, LDH is a marker of cell damage.
             So it’s used in the laboratory, but you can actually use it
             as a measure of toxicity. You put some kind of a toxin on
             cells, and they release LDH. You can measure that. And
             in the case of – in the human body, if you look at serum,
             and you look at LDH, that can be seen in people who
             have toxic reactions or damage to an organ. And
             commonly, it is something you see in liver damage.

             THE COURT: Heart attacks?


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            THE WITNESS: Heart attacks, another place you see
            when you have – when you have – the cardiac cells are
            damaged, they release LDH. And it is not well linked to
            hair loss clinically. In other words, we don’t have studies
            that follow LDH release and different kinds of hair loss.
            So there is no scientific basis in any kind of
            clinical-related studies to show that it’s linked to any
            kinds of hair loss we’re discussing in this case.

2 ER0215:22-2 ER0216:20.

      2.    There Is No Association Between Elevated LDH And
            Autoimmune Alopecia
            The Government contends that Lacie has alopecia from an

autoimmune cause. In contrast to the clear link between elevated LDH and

thallium toxicity, there is no association between high LDH levels and alopecia

caused by autoimmunity.

            According to Dr. Norris:

            Q. Do we have data or do we not have data that LDH is
            released by alopecia areata caused by an autoimmune
            process?
            A. I think that there is no data in the literature that
            examines that fact.

2 ER0217:23-2 ER0218:1.

            Moreover, a published study that specifically looked for a link

between elevated LDH levels and alopecia found none: None of the patients

examined showed abnormal total serum-LDH. . . . In our opinion this indicates




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that there is no relationship between serum-LDH and the forms of hair loss

examined. 3 ER0478, Section B.

             Thus, the scientific, objective, evidence of elevated levels of LDH in

Lacie’s blood indicate her alopecia is not caused by an autoimmune reaction, but

rather by a toxic insult, such as thallium exposure. This scientific evidence

supports the diagnoses of Lacie’s treating physicians her problems are related to

thallium exposure. This Court should make a finding that is the case.

             Lacie has had to undergo two trials based on errors committed by

Judge Benitez. She simply cannot afford to go through a third trial, which would

involve the exorbitant costs of experts, whose testimony has already been taken,

which she no longer can afford.

      3.     This Court Should Remand The Case To A New District Court
             Judge To Determine Causation, If It Does Not Do So, And To
             Make A Determination Of Lacie’s Damages Based On The
             Extensive Record
             At this point, both parties have fully presented their evidence on the

issues of causation and damages (the issues tried during Phase 2). The only thing

lacking is a fair and impartial ruling based on the evidence, which Judge Benitez

failed to provide because of his bias and decision to disregard this Court’s

mandate. The Plaintiff therefore respectfully submits that the appropriate course is

to remand the case, with specific instructions to assign a new judge to decide the

case fairly and impartially on the record (and according to the correct burden of


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proof). The parties can assist the newly-assigned judge with briefs and through

oral arguments, as requested.

             With respect to the identity of the new judge, the Court should take

note that Judge Battaglia, who is now an Article III judge in the Southern District,

has great familiarity with this case based on his prior involvement as a Magistrate

making a report and recommendation on Daubert challenges filed by the

Defendant against virtually all of the Plaintiff’s experts. Plaintiff therefore submits

that it would be appropriate to remand the case with instructions to assign Judge

Battaglia to render a decision based on the evidence in the record.

             This Court should remand the case to the District Court for the limited

purpose of determining damages. If it does not determine causation, it should

remand to the District Court to determine causation as well as damages on the

record adduced at the two trials in this case. Federal appellate courts have done so,

where, as here, it would consume valuable time and resources to conduct further

hearings. See McCord v. Bailey, 636 F.2d 606, 613 (D.C. Cir. 1980) (“Although

inadequate findings and conclusions may be remanded to the district court for

supplementation, ‘we will not remand a case for more specific findings if doing so

will consume precious time and judicial resources without serving any purpose.’”)

(quoting LaSalle Extension University v. FTC, 627 F.2d 481, 485 (D.C. Cir.

1980)). See also Milton v. Weinberger, 645 F.2d 1070, 1079 (D.C. Cir. 1981)


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(remanding, in a discrimination case, “to the District Court to determine whether

there is on the existing record a legitimate non-discriminatory reason for not

promoting the appellants” (emphasis added)); Fresh Meadow Food Servs., LLC v.

RB 175 Corp., 502 F.App’x 81, 82 (2d Cir. 2012) (“Jurisdiction is restored to the

district court for the limited purpose of deciding, solely on the basis of the existing

trial record and without reliance on the two findings we have set aside, whether

Defendants acted with reckless disregard for the truth” (emphasis added)). This

Court in In re Mendoza, 182 F.App’x 661, 663-664 (9th Cir. 2006) remanded

“with direction that the bankruptcy court determine on the basis of the existing

record whether Mendoza has made a good faith effort to repay his student loans.”

Id. (emphasis added).

             The parties have called all their witnesses. A new judge has ample

evidence in the record to make his or her determination. To require Lacie to again

undergo the expense of a trial on damages or causation would be a denial of

justice.

                                   CONCLUSION
             Judge Benitez’s decision, like the hearings leading up to it, materially

prejudiced Lacie Meyers and demonstrated that he could not put out of his mind

his previously expressed findings.




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             Under all the circumstances and unusual facts in this case,

Judge Benitez should have recused himself. Accepted practice dictates that result.

See Liteky at 548; United States v. Gardenhire, 784 F.3d 1277, 1283-84 (9th Cir.

2015); Myers One at 1037.

             Based on Judge Benitez’s record, it is clear that he has not and cannot

be expected to follow this court’s rulings. Four and one half years of unexplained

delays (or erroneously explained delays) coupled with two years because of a

necessary appeal required by Judge Benitez’s “numerous errors,” and, now, a

decision by the Judge, after pervasive denigrating, deprecating, and blatantly

erroneous comments, should not give Judge Benitez the “last words.” Those many

years have denied Lacie a full and fair hearing.

             Nor should Lacie be further punished by having to go through a third

trial. This Court can and should, as it did before, make findings to correct the clear

errors made by Judge Benitez. It is not necessary to retry the issue of causation

when this Court can made that determination on the record before it that Lacie’s

exposure to thallium was proximately caused by the Government’s negligence.

             Reversal and reassignment for a brief trial on damages is essential to

maintain the appearance of justice. Judge Benitez’s judgment should be reversed

because of his pervasive bias and absence of impartiality. The appearance of

justice can only be served under 28 U.S.C. § 2106 by remanding this case to a


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different judge for a fair and expeditious trial based on the record already

produced.

      Contrary to Judge Benitez’s acerbic and contemptuous characterization of

Plaintiff’s counsel, Lacie, and denigration of this Court’s opinion, the only

“poisoning” present in this case was Lacie being “poisoned by the escaped

thallium.” 2 ER0155:5-8.

Dated: June 12, 2015                         BARTKO, ZANKEL, BUNZEL &
                                             MILLER
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                     STATEMENT OF RELATED CASES

      Pursuant to Circuit Rule 28-2.6, there are no known related cases pending in

this Court.

Dated: June 12, 2015                       BARTKO, ZANKEL, BUNZEL &
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     CERTIFICATE OF COMPLIANCE WITH FED. R. APP. P. 32(A)

      1.     This brief complies with the type-volume limitation of Fed. R. App.

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the brief exempted by Fed. R. App. P. 32(a)(7)(B)(iii).

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  9th Circuit Case Number(s) No. 14-56895


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